1.

Case 1:15-cv-11557-FDS Document 1-6 Filed 04/09/15 Page 1iof1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Title of case (name of first party on each side only) John Doe v. Brandeis University

 

2, Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local

ruie 40.1(a)(1)).

i. 410, 441, 470, 535, 830*, 891, 893, 895, R.23, REGARDLESS OF NATURE OF SUIT.

[| I. 110, 130, 146, 160, 180, 196, 230, 240, 290,320,362, 370, 371, 380, 430, 440, 442, 443, 445, 446, 448, 710, 720,
740, 790, 820", 840", 850, 870, 874.

Il. 120, 150, 154, 452, 153, 195, 210, 220, 245, 310, 315, 330, 340, 345, 350, 355, 360, 365, 367, 368, 376, 385, 400,
422, 423, 450, 460, 462, 463, 465, 480, 490, 510, 530, 640, 550, 555, 625, 690, 751, 794, 8614-865, 890, 896, 899,
950.

*Aiso complete AO 120 or AO 121. for patent, trademark or copyright cases.

Title and number, if any, of related cases. {See local rule 40.1(g)}. If more than one prior related case has been filed in this
district please indicate the title and number of the first fited case in this court.

 

Has a prior action between the same parties and based on the same claim ever been filed in this court?

YES [| NO

Does the complaint in this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)
YES L | "NO
YES [| NO [|

fs this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §22847
LT x0

Do ail of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
Massachusetts (“governmental agencies"), residing in Massachusetts reside in “Tt division? - vl Rule 40,1(d)).

Hf so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

YES

YES NO
A. If yes, in which divisi o all of the non-governmental parties reside?
Eastern Division Py Central Division P| Western Division [|
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,

residing in Massachusetts reside?

Eastern Division Gentral Division [| Western Division [|

If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (if yes,

submit a separate sheet Identifying the motions}
ves L | no

(PLEASE TYPE OR PRINT}
ATTORNEY'S NAME Michael R. Schneider, Esquire

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